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 1   Marshall Meyers (020584)
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     Attorney for Plaintiff

 7
                              UNITED STATES DISTRICT COURT

 8
                               FOR THE DISTRICT OF ARIZONA

 9   Cathleen Fleming,                             ) Case No.
10
                                                   )
     Plaintiff,                                    ) COMPLAINT AND TRIAL BY JURY
11                                                 ) DEMAND
             vs.                                   )
12
                                                   )
13   Gurstel, Staloch & Chargo, PA,                )
                                                   )
14
     Defendant.                                    )
15

16                                     NATURE OF ACTION
17
             1.    This is an action brought under the Fair Debt Collection Practices Act
18
     (“FDCPA”), 15 U.S.C. § 1692 et seq.
19

20                                 JURISDICTION AND VENUE
21
             2.    This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C. §
22
     1331.
23

24           3.    Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where
25
     the acts and transactions giving rise to Plaintiff’s action occurred in this district, (where
26
     Plaintiff resides in this district), and/or where Defendant transacts business in this district.
27

28




                                               Complaint - 1
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 1                                           PARTIES
 2
            4.     Plaintiff, Cathleen Fleming (“Plaintiff”), is a natural person who at all
 3

 4
     relevant times resided in the State of Arizona, County of Maricopa, and City of

 5   Goodyear.
 6
            5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
 7

 8
            6.     Defendant, Gurstel, Staloch & Chargo, PA (“Defendant”) is an entity who

 9   at all relevant times was engaged, by use of the mails and telephone, in the business of
10
     attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. § 1692a(5).
11
            7.     Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).
12

13                                FACTUAL ALLEGATIONS
14
            8.     Plaintiff is a natural person obligated, or allegedly obligated, to pay a debt
15
     owed or due, or asserted to be owed or due a creditor other than Defendant.
16

17          9.     Plaintiff's obligation, or alleged obligation, owed or due, or asserted to be
18
     owed or due a creditor other than Defendant, arises from a transaction in which the
19
     money, property, insurance, or services that are the subject of the transaction were
20

21   incurred primarily for personal, family, or household purposes. Plaintiff incurred the
22   obligation, or alleged obligation, owed or due, or asserted to be owed or due a creditor
23
     other than Defendant when Plaintiff used a credit card under an agreement with Bank of
24

25   America Corporation.

26          10.    Defendant uses instrumentalities of interstate commerce or the mails in a
27
     business the principal purpose of which is the collection of any debts, and/or regularly
28




                                             Complaint - 2
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 1   collects or attempts to collect, directly or indirectly, debts owed or due, or asserted to be
 2
     owed or due another.
 3

 4
            11.    Defendant placed numerous calls to Plaintiff before 8:00 A.M., a time that

 5   Defendant knew to be inconvenient to Plaintiff, including, but not limited to the
 6
     following dates and times:
 7

 8
                   May 13, 2010 @ 7:40 A.M.

 9                 May 24, 2010 @ 7:14 A.M.
10
            12.    Defendant knew or should have known that it was calling before 8:00 AM
11
     at Plaintiff’s location because it filed a lawsuit against Plaintiff in Arizona, and it has sent
12

13   correspondence to Plaintiff’s address in Arizona.
14
            13.    Paragraphs 7, 8 and 9 of the General Allegations in Defendant’s Complaint
15
     filed against Plaintiff on June 18, 2010 state as follows:
16

17                 7.      Pursuant to A.R.S. § 12-341 the prevailing party will
                   be entitled to an award of all costs and, pursuant to A.R.S. §
18
                   12-341.01, reasonable attorneys’ fees incurred in pursuing
19                 this action.
20
                   8.    Court costs as actually incurred are chargeable to
21                 Defendant.
22                 9.    In the event of default, reasonable attorneys’ fees
23                 chargeable to Defendant are $750.00 or as actually incurred
                   otherwise.
24

25   (See Exhibit 1, attached hereto and incorporated by this reference) (emphasis added).

26          14.    Defendant misrepresented to Plaintiff, that the prevailing party in an action
27
     arising out of contract is automatically entitled to attorney fees under A.R.S. § 12-341.01,
28
     when attorney’s fees are awarded only at the discretion of the trial court.


                                               Complaint - 3
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 1          15.    Defendant also misrepresented to Plaintiff, that Defendant’s court costs and
 2
     attorneys’ fees would be charged to Plaintiff without regard to the outcome of the case,
 3

 4
     where A.R.S. § 32-1051 prohibits Defendant from attempting to collect any collection

 5   fee, attorney’s fee, court cost or expenses unless such fees, charges or expenses are justly
 6
     due from and legally chargeable against the debtor, or have been judicially determined.
 7

 8
            16.    In addition, Defendant misrepresented to Plaintiff, that in the event of

 9   default, Defendant’s attorneys’ fees would be chargeable to Plaintiff, where A.R.S. § 12-
10
     341.01 only applies to contested actions and, unless there is a written contract stating that
11
     reasonable attorney’s fees will be awarded to the prevailing party in a collection action on
12

13   the contract, the court will not award attorney’s fees in a default judgment.
14
            17.    Furthermore, Defendant maintains that it did not seek to collect – as
15
     threatened – attorneys’ fees from Plaintiff with respect to Defendant’s Complaint filed
16

17   against Plaintiff on June 18, 2010.
18
            18.    Defendant also contends that it did not file a motion with the court seeking
19
     attorneys’ fees from Plaintiff in connection with Defendant’s Complaint filed against
20

21   Plaintiff on June 18, 2010.
22          19.    In connection with the collection of an alleged debt, in a state court lawsuit,
23
     Defendant filed a proposed order for stipulated judgment against Plaintiff in the amount
24

25   of $12,006.82, when Plaintiff had agreed to a stipulated judgment in the amount of only

26   $3,400.00.
27
            20.    Defendant’s actions constitute conduct highly offensive to a reasonable
28
     person, and as a result of Defendant’s behavior Plaintiff suffered and continues to suffer


                                              Complaint - 4
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 1   injury to Plaintiff’s feelings, personal humiliation, embarrassment, mental anguish and/or
 2
     emotional distress.
 3

 4
                                               COUNT I

 5          21.      Plaintiff repeats and re-alleges each and every allegation contained above.
 6
            22.      15 U.S.C. § 1692 c(a)(1) of the FDCPA provides:
 7

 8
                     (a) COMMUNICATION WITH THE CONSUMER
                     GENERALLY. Without the prior consent of the consumer
 9                   given directly to the debt collector or the express permission
                     of a court of competent jurisdiction, a debt collector may not
10
                     communicate with a consumer in connection with the
11                   collection of any debt --
12
                        (1) at any unusual time or place or a time or place known
13                   or which should be known to be inconvenient to the
                     consumer. In the absence of knowledge of circumstances to
14
                     the contrary, a debt collector shall assume that the convenient
15                   time for communicating with a consumer is after 8 o'clock
                     antimeridian and before 9 o'clock postmeridian, local time at
16
                     the consumer's location;
17
     15 U.S.C. § 1692c.
18

19          23.      Defendant violated § 1692c(a)(1) of the FDCPA as detailed above,
20
     including but not limited to, placing calls to Plaintiff on May 13, 2010 at 7:40 AM and on
21
     May 24, 2010 at 7:14 AM, when it knew or should have known that calling at such times
22

23   is inconvenient to Plaintiff.

24          WHEREFORE, Plaintiff prays for relief and judgment, as follows:
25
                  a) Adjudging that Defendant violated the FDCPA § 1692c(a)(1);
26

27
                  b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in the

28                   amount of $1,000.00;



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 1                c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;
 2
                  d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
 3

 4
                     action;

 5                e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
 6
                     allowed under the law;
 7

 8
                  f) Awarding such other and further relief as the Court may deem just and

 9                   proper.
10
                                               COUNT II
11
            24.      Plaintiff repeats and re-alleges each and every allegation contained above.
12

13          25.      15 U.S.C. § 1692 e(2)(A) of the FDCPA provides:
14
                     A debt collector may not use any false, deceptive, or
15                   misleading representation or means in connection with the
                     collection of any debt.     Without limiting the general
16
                     application of the foregoing, the following conduct is a
17                   violation of this section:
18
                     (2) The false representation of--
19                   (A) the character, amount, or legal status of any debt;
20
     15 U.S.C. §1692e(2)(A).
21
            26.      Defendant violated § 1692e(2)(A) of the FDCPA as detailed above by
22

23   misrepresenting to Plaintiff, including but not limited to:

24                a. that the prevailing party in an action arising out of contract is automatically
25
                     entitled to attorney fees under A.R.S. § 12-341.01, when attorney’s fees are
26

27
                     awarded only at the discretion of the trial court;

28




                                                Complaint - 6
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 1          b. that Defendant’s court costs and attorneys’ fees would be charged to
 2
               Plaintiff without regard to the outcome of the case, where A.R.S. § 32-1051
 3

 4
               prohibits Defendant from attempting to collect any collection fee,

 5             attorney’s fee, court cost or expenses unless such fees, charges or expenses
 6
               are justly due from and legally chargeable against the debtor, or have been
 7

 8
               judicially determined; and

 9          c. that in the event of default, Defendant’s attorneys’ fees would be
10
               chargeable to Plaintiff, where A.R.S. § 12-341.01 only applies to contested
11
               actions and, unless there is a written contract stating that reasonable
12

13             attorney’s fees will be awarded to the prevailing party in a collection action
14
               on the contract, the court will not award attorney’s fees in a default
15
               judgment.
16

17       WHEREFORE, Plaintiff prays for relief and judgment, as follows:
18
            a) Adjudging that Defendant violated the FDCPA § 1692e(2)(A);
19
            b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in the
20

21             amount of $1,000.00;
22          c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;
23
            d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
24

25             action;

26          e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
27
               allowed under the law;
28




                                            Complaint - 7
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 1                f) Awarding such other and further relief as the Court may deem just and
 2
                     proper.
 3

 4
                                              COUNT III

 5          27.      Plaintiff repeats and re-alleges each and every allegation contained above.
 6
            28.      15 U.S.C. § 1692e(5) of the FDCPA provides:
 7

 8
                     A debt collector may not use any false, deceptive, or
                     misleading representation or means in connection with the
 9                   collection of any debt. Without limiting the general
                     application of the foregoing, the following conduct is a
10
                     violation of this section:
11
                     *         *   *
12

13                   (5) The threat to take any action that cannot legally be taken
                     or that is not intended to be taken.
14

15          29.      Defendant violated § 1692e(5) of the FDCPA as detailed above by
16
     threatening to take action to collect from Plaintiff Defendant’s attorneys’ fees and costs
17
     relating to its lawsuit against Plaintiff, when it did not intend to do so.
18

19          WHEREFORE, Plaintiff prays for relief and judgment, as follows:
20
                  a) Adjudging that Defendant violated the FDCPA § 1692e(10);
21
                  b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in the
22

23                   amount of $1,000.00;

24                c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;
25
                  d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
26

27
                     action;

28




                                                Complaint - 8
      Case 2:10-cv-02227-MHB Document 1 Filed 10/19/10 Page 9 of 13



 1                e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
 2
                     allowed under the law;
 3

 4
                  f) Awarding such other and further relief as the Court may deem just and

 5                   proper.
 6
                                                  COUNT IV
 7

 8
            30.      Plaintiff repeats and re-alleges each and every allegation contained above.

 9          31.      15 U.S.C. § 1692 e(10) of the FDCPA provides:
10
                     A debt collector may not use any false, deceptive, or
11                   misleading representation or means in connection with the
                     collection of any debt.     Without limiting the general
12
                     application of the foregoing, the following conduct is a
13                   violation of this section:
14
                     (10) The use of any false representation or deceptive means to
15                   collect or attempt to collect any debt or to obtain information
                     concerning a consumer.
16

17   15 U.S.C. §1692e(10).
18
            32.      Defendant violated § 1692e(10) of the FDCPA as detailed above by falsely
19
     representing to Plaintiff, in order to collect or attempt to collect a debt from her,
20

21   including but not limited to as follows:
22                a. Defendant misrepresented that the prevailing party in an action arising out
23
                     of contract is automatically entitled to attorney fees under A.R.S. § 12-
24

25                   341.01, when attorney’s fees are awarded only at the discretion of the trial

26                   court;
27
                  b. Defendant misrepresented that Defendant’s court costs and attorneys’ fees
28
                     would be charged to Plaintiff without regard to the outcome of the case,


                                                Complaint - 9
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 1             where A.R.S. § 32-1051 prohibits Defendant from attempting to collect any
 2
               collection fee, attorney’s fee, court cost or expenses unless such fees,
 3

 4
               charges or expenses are justly due from and legally chargeable against the

 5             debtor, or have been judicially determined;
 6
            c. Defendant misrepresented that in the event of default, Defendant’s
 7

 8
               attorneys’ fees would be chargeable to Plaintiff, where A.R.S. § 12-341.01

 9             only applies to contested actions and, unless there is a written contract
10
               stating that reasonable attorney’s fees will be awarded to the prevailing
11
               party in a collection action on the contract, the court will not award
12

13             attorney’s fees in a default judgment; and
14
            d. Defendant misrepresented to the court, in connection with the collection of
15
               an alleged debt in a state court lawsuit, that Plaintiff had agreed to a
16

17             stipulated judgment in the amount of $12,006.82 by Defendant’s filing of a
18
               proposed order for stipulated judgment against Plaintiff for same, when
19
               Plaintiff had agreed to a stipulated judgment in the amount of only
20

21             $3,400.00.
22       WHEREFORE, Plaintiff prays for relief and judgment, as follows:
23
            a) Adjudging that Defendant violated the FDCPA § 1692e(10);
24

25          b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in the

26             amount of $1,000.00;
27
            c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;
28




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 1                d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
 2
                     action;
 3

 4
                  e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

 5                   allowed under the law;
 6
                  f) Awarding such other and further relief as the Court may deem just and
 7

 8
                     proper.

 9

10
                                               COUNT V
11
            33.      Plaintiff repeats and re-alleges each and every allegation contained above.
12

13          34.      15 U.S.C. § 1692f of the FDCPA prohibits the use of unfair or
14
     unconscionable means to collect or attempt to collect any debt.
15
            35.      Defendant violated § 1692f of the FDCPA as detailed above by using unfair
16

17   or unconscionable means to collect a debt from Plaintiff including, but not limited to,
18
     “the collection of any amount (including any interest, fee, charge, or expense incidental
19
     to the principal obligation) unless such amount is expressly authorized by the agreement
20

21   creating the debt or permitted by law.” 15 U.S.C. § 1692f(1).
22          36.      Defendant used the following unfair or unconscionable means to collect
23
     attorney’s fees and costs from Plaintiff that were not authorized by agreement or
24

25   permitted by law, including but not limited to:

26                a. misrepresenting to Plaintiff that the prevailing party in an action arising out
27
                     of contract is automatically entitled to attorney fees under A.R.S. § 12-
28




                                                Complaint - 11
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 1             341.01, when attorney’s fees are awarded only at the discretion of the trial
 2
               court;
 3

 4
            b. misrepresenting to Plaintiff that Defendant’s court costs and attorneys’ fees

 5             would be charged to Plaintiff without regard to the outcome of the case,
 6
               where A.R.S. § 32-1051 prohibits Defendant from attempting to collect any
 7

 8
               collection fee, attorney’s fee, court cost or expenses unless such fees,

 9             charges or expenses are justly due from and legally chargeable against the
10
               debtor, or have been judicially determined; and
11
            c. Misrepresenting to Plaintiff that in the event of default, Defendant’s
12

13             attorneys’ fees would be chargeable to Plaintiff, where A.R.S. § 12-341.01
14
               only applies to contested actions and, unless there is a written contract
15
               stating that reasonable attorney’s fees will be awarded to the prevailing
16

17             party in a collection action on the contract, the court will not award
18
               attorney’s fees in a default judgment.
19
         WHEREFORE, Plaintiff prays for relief and judgment, as follows:
20

21          a) Adjudging that Defendant violated the FDCPA § 1692f;
22          b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in the
23
               amount of $1,000.00;
24

25          c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;

26          d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
27
               action;
28




                                         Complaint - 12
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 1          e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
 2
                allowed under the law;
 3

 4
            f) Awarding such other and further relief as the Court may deem just and

 5              proper.
 6
                                      TRIAL BY JURY
 7

 8
         Plaintiff is entitled to and hereby demands a trial by jury.

 9              Respectfully submitted this 19th day of October, 2010
10
                               By: s/ Marshall Meyers
11                             Marshall Meyers (020584)
                               WEISBERG & MEYERS, LLC
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16

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26

27

28




                                           Complaint - 13
